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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

       KERRY ROTH, on behalf of herself and
       all others similarly situated,
                                                           CASE NO. 16-cv-62942WPD
              Plaintiff,

       v.

       GEICO GENERAL INSURANCE
       COMPANY,

             Defendant.
       ____________________________________/


       MARIANNE JOFFE, DEBBE SCHERTZER,
       and STEPHANIE RODRIGUEZ, individually               CASE NO. 18-cv-61361-WPD
       and on behalf of all others similarly situated,

                                     Plaintiffs,

       v.

       GEICO INDEMNITY COMPANY,
       GOVERNMENT EMPLOYEES
       INSURANCE COMPANY and GEICO
       GENERAL INSURANCE COMPANY,

                                     Defendants.

                                 ORDER PRELIMINARILY APPROVING
                                    CLASS ACTION SETTLEMENT

             THIS CAUSE is before the Court on Plaintiffs’ Unopposed Motion for Preliminary

      Approval of Proposed Global Class Action Settlement. [DE 352]. The Court has carefully

      considered the Motion and is otherwise fully advised in the premises.

             WHEREAS Plaintiffs Kerry Roth, Marianne Joffe, Debbe Schertzer, and Stephanie

      Rodriguez (the “Named Plaintiffs”), individually and as Class Representatives on behalf of a
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      proposed Settlement Class (collectively, “Plaintiffs”), and Defendants Government Employees

      Insurance Company, GEICO General Insurance Company, and GEICO Indemnity Company

      (collectively, “GEICO”), acting by and through their respective counsel, have agreed, subject

      to Court approval, to settle this Action upon the terms and conditions stated in the Class Action

      Settlement Agreement filed with the Court on July 17, 2020 (the “Agreement”);

             NOW, THEREFORE, based upon the Agreement, all of the files, records, and

      proceedings herein, statements of counsel, and it appearing to the Court that a hearing should

      be held to determine whether the Proposed Settlement described in the Agreement should be

      finally approved as fair, reasonable, and adequate;

              IT IS HEREBY ORDERED THAT:

         1. The Agreement (including Exhibits) is hereby incorporated by reference in this Order,

             and all terms defined in the Agreement will have the same meanings in this Order.

         2. This Court possesses jurisdiction over the subject matter of this Action and over all

             Parties to this Action, including the Named Plaintiffs and all Settlement Class

             Members.

         3. The Court finds that the negotiations leading to the Agreement occurred at arm’s

             length, there was sufficient discovery in this case prior to settlement, and the

             proponents of the settlement are experienced in similar litigation. The Court

             preliminarily approves the Agreement (including Exhibits), finding that the Proposed

             Settlement is fair, reasonable, and adequate to warrant providing notice to the

             Settlement Class because, upon preliminary review and as required by Fed. R. Civ. P.

             23(e)(1)(B), there is sufficient information provided to determine that the Court will




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            likely be able to approve the proposal. Such finding is not to be deemed an admission

            of liability or fault by GEICO or a finding of the validity of any claims asserted in the

            Action or of any wrongdoing by GEICO. Neither the Agreement, nor any of its terms

            or provisions, nor any of the negotiations or proceedings connected with it, shall be

            construed as an admission or concession by the Released Persons of the truth of any of

            the allegations made in the Action, or of any liability, fault, or wrongdoing of any kind

            whatsoever on the part of the Released Persons.

         4. This Court previously certified a class in each of the consolidated actions. See Roth

            Doc. 165; Joffe Doc. 52. The Parties propose a Settlement Class defined, with some

            immaterial alterations, essentially the same as the Classes previously certified by this

            Court, except that the Settlement Class includes certain additional insureds who

            suffered a total loss to their insured leased vehicle after the date of this Court’s Orders

            Granting Class Certification and through August 1, 2020. For purposes of determining

            whether the terms of the Proposed Settlement should be finally approved as fair,

            reasonable and adequate, the following Settlement Class is preliminarily certified for

            settlement purposes only (and GEICO retains all rights to assert, if this settlement is

            not consummated, that this Court’s previous Class Certification Orders were

            incorrectly decided):

                    All Florida policyholders who were insured (1) by GEICO
                    General for private passenger auto physical damage coverage
                    who suffered a first-party loss of a covered leased (i.e., not
                    owned) vehicle at any time from August 30, 2011 through
                    August 1, 2020, whose claims were adjusted by GEICO General
                    as a Total Loss and resulted in payment by GEICO of a covered
                    claim, and who were not paid full Sales Tax and/or full Title and




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                    Tag Transfer Fees; and (2) by GEICO Indemnity and
                    Government Employees for private passenger auto physical
                    damage coverage who suffered a first-party loss of a covered
                    leased (i.e., not owned) vehicle at any time from June 15, 2013
                    through August 1, 2020, whose claims were adjusted by GEICO
                    as a Total Loss and resulted in payment by GEICO of a covered
                    claim, and who were not paid full Sales Tax and/or full Title and
                    Tag Transfer Fees.

         5. Those excluded from the class are set forth in paragraph I. uu. in the Agreement.

         6. Kerry Roth, Marianne Joffe, Debbe Schertzer, and Stephanie Rodriguez are

            preliminarily   appointed    representatives   of   the   Settlement    Class   (“Class

            Representatives”), and the following attorneys are preliminarily appointed as counsel

            for the Settlement Class (“Class Counsel”):

            Edmund Normand, Esq.
            Normand PLLC
            3165 McCrory Place, Suite 175
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            Tracy L. Markham
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            St. Augustine, Florida 32084
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            Bradley W. Pratt
            Pratt Clay, LLC
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            Atlanta, Georgia 30327
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            Facsimile: (404) 949-8159
            bradley@prattclay.com

         7. Courts should make a preliminary inquiry into the Rule 23 requirements prior to

            preliminarily approving a proposed Settlement Class. See, e.g., Legg v. E-Z Rent a

            Car, Inc., 2015 U.S. Dist. LEXIS 178022, at *3-4 (M.D. Fla. May 28, 2015). The

            Court briefly addresses each factor and, for purposes of settlement, finds that the

            Proposed Settlement Class is suitable for class treatment. However, “in amending Rule

            23 in 2018, the Advisory Committee made clear that if ‘the court has already certified




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            a class, the only information ordinarily necessary is whether the proposed settlement

            calls for any change in the class certified, or of the claims, defenses, or issues regarding

            which certification was granted.’” Cook v. Gov't Emples. Ins. Co., 2020 U.S. Dist.

            LEXIS 111956, at *9 (M.D. Fla. Jun. 22, 2020) (citing Fed. R. Civ. P. 23(e)(1)(B)

            Committee Notes on Amendment – 2018).

         8. Because the Settlement Class is materially identical to the Classes previously certified

            by this Court except that it expands the Class period up to August 1, 2020, the

            Settlement Class is certifiable for the same factual and legal reasons set forth in this

            Court’s previous orders certifying the Classes. See Roth Doc. 165; Joffe Doc. 52.

         9. Specifically, for purposes of Settlement, the Named Plaintiffs possess Article III

            standing and, because the class definition is clear, based on objective criteria, and is

            not overbroad, and because the Parties agree to identify Settlement Class members

            based on objective criteria, the proposed Settlement Class is adequately defined and

            ascertainable. See Perez v. Metabolife Int'l, Inc., 218 F.R.D. 262, 269 (S.D. Fla. 2003)

            (class definition should not be overly broad, amorphous, or vague); Alderman v. GC

            Servs. L.P., 2018 U.S. Dist. LEXIS 10205, at *10 (S.D. Fla. Jan. 19, 2018) (class was

            clearly ascertainable because members had already been identified). Thus, for purposes

            of settlement, the threshold requirements for class certification are satisfied.

         10. For purposes of settlement, the Class is sufficiently numerous (comprised of over

            10,000 members), there are questions of law and fact common to the Settlement Class

            (including whether the insurance policies were breached by failure to pay sales tax, title

            and registration transfer fees) and Plaintiffs’ claims are typical of the Settlement Class




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            (all of whom claim breach by GEICO’s failure to pay sales tax and/or title and

            registration transfer fees). In addition, Plaintiffs and Class Counsel are adequate

            representatives of the Settlement Class. Thus, the prerequisites to certify a class

            prescribed by Rule 23(a) are satisfied as to the Settlement Class for purposes of

            settlement. Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1187-88 (11th

            Cir. 2003) (to certify a class, Rule 23(a) requirements of numerosity, commonality,

            typicality, and adequacy must be satisfied).

         11. For purposes of settlement, the Settlement Class is certifiable under Rule 23(b)(3)

            because, for purposes of preliminarily certifying the Settlement Class, common issues

            predominate over individual issues and class treatment is superior to other alternatives

            for adjudicating the claims at issue. See Vega v. T-Mobile USA, Inc., 564 F.3d 1256,

            1265 (11th Cir. 2009) (predominance and superiority requirements must be met to

            certify a class under Rule 23(b)(3)).

         12. GEICO maintains all defenses to certification and this Order shall not be used as

            evidence or be interpreted in any way to be relevant to whether litigation classes or the

            previously certified classes should have been certified for class treatment.

         13. The Parties have prepared and submitted the Mail Notice Forms, E-Mail Notice Forms,

            Longform Notice, Claim Form, and Electronic Claim Form (including blank forms of

            both) as Exhibits 2 through 8 to the Agreement. The Court carefully reviewed and

            approves, without material alteration, Exhibits 2 through 8 to the Agreement

            (including, with respect to the functionality of the Electronic Claim Forms, as further




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            described the Agreement, unless otherwise modified by agreement of the Parties and

            approved by the Court).

         14. The Court directs that the Notices and Claim Forms be sent to the Persons described,

            and in the manner set forth, in the Agreement, including the procedures set forth for

            Notices that are returned as undelivered or due to an incorrect current address.

         15. To be timely, Claim Forms must be postmarked on or before the Claims Submission

            Deadline as set forth in the Agreement. Any Claim Form postmarked after the Claims

            Submission Deadline shall be deemed untimely. The Electronic Claim Form must be

            submitted electronically on or before 11:59 p.m. EST on the date of the Claims

            Submission Deadline, after which the Settlement Administrator shall deactivate the

            Electronic Claim Form.

         16. JND Legal Administration (“JND”) is preliminarily appointed as the third-party

            Settlement Administrator.

         17. In addition to mailing the Notice as set forth above, the Settlement Administrator shall

            establish a website as described in the Agreement and upload to the Website the

            Agreement, Longform Notice, Mail Notice, Claim Forms, Electronic Claim Forms

            (with the functionality provided for in the Agreement), Preliminary Approval Order,

            frequently asked questions, and other information agreed to by the Parties. The website

            shall be maintained for at least 180 days after the Claims Submission Deadline, and

            shall contain Spanish translations of the Notice and Claim Form. Furthermore, the

            Settlement Administrator shall maintain a toll-free IVR telephone system containing




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            recorded answers to frequently asked questions, along with an option permitting callers

            to access a live person.

         18. The Class Action Fairness Act Notice to be made by the Settlement Administrator on

            behalf of GEICO as set forth in the Agreement is in full compliance with 28 U.S.C. §

            1715(b).

         19. The costs of providing the dissemination of notice for administration of the Settlement,

            including the costs of JND, the Settlement Administrator, shall be borne by GEICO.

         20. The Court preliminarily finds that the notice provided to potential Settlement Class

            Members (i) is the best practicable notice under the circumstances; (ii) is reasonably

            calculated to apprise Settlement Class Members of the pendency of the Action and of

            their right to object or to exclude themselves from the Proposed Settlement; and (iii) is

            reasonable and constitutes due, adequate, and sufficient notice to all Persons entitled to

            receive notice. See Fed. R. Civ. P. 23(c)(2).

         21. For purposes of preliminary approval, courts must make an initial analysis and ensure

            that, as a preliminary matter, the terms of the settlement are appear fair, adequate, and

            reasonable based on, inter alia, the factors prescribed by the Eleventh Circuit. See

            Leverso v. Southtrust Bank, 18 F.3d 1527, 1530 n. 6 (11th Cir. 1994) (outlining six

            factors). These factors, however, are “neither determinative nor exhaustive, and the

            court may consider other relevant factors based on the particular nuances of the case

            and the settlement proposed.” Palmer v. Dynamic Recovery Solutions, LLC, 2016 U.S.

            Dist. LEXIS 59229 (M.D. Fla. May 4, 2016) (citations omitted). Preliminary approval

            should be granted where the Parties provide sufficient information to allow a Court to




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            determine that Notice of the proposal should be provided to Class Members for

            consideration of its terms and that, upon initial review, the Court will likely be able to

            approval the proposal. See Fed. R. Civ. P. 23(e)(1)(B)(i).

         22. Based upon a preliminary analysis, and without foreshadowing final analysis after

            implementation of the Notice and review of any objections, this Court finds that the

            terms of the Proposed Settlement appear fair, reasonable, and adequate to the

            Settlement Class, for the reasons, among others, that follow.

         23. First, the likelihood of Settlement Class Members’ ultimately achieving success after

            all potential appeals of judgment and class certification is uncertain. While the Court

            previously certified the respective Classes in Roth and Joffe, and granted the Roth

            Plaintiff’s motion for summary judgment and denied GEICO’s motion for summary

            judgment, this Court recognizes that other courts can and have disagreed (including

            two Florida circuit courts), that GEICO maintains that it possesses meritorious defenses

            concerning both summary judgment and class certification, and that appellate review

            of the Court’s Summary Judgment Order would be de novo. See Curves, LLC v.

            Spalding County, 685 F.3d 1284, 1288 (11th Cir. 2012). Indeed, global Settlement was

            achieved after the appeal of the Roth matter was fully briefed, including two amicus

            briefs filed in support of GEICO, and on the eve of oral argument.

         24. The uncertainty and risk of reversal on appeal is particularly relevant where, as here,

            there is no appellate opinion directly on point, and no direct guidance from the Florida

            Supreme Court nor any Florida appellate court.




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         25. In conducting preliminary analysis of a proposed Settlement, courts compare the

            chances of ultimate success (including on appeal), which this Court finds to be

            uncertain, with the value secured through the Settlement Agreement. See Palmer, 2016

            U.S. Dist. LEXIS 59229 (comparing likelihood of success to value secured for the

            Class). The Court preliminarily finds that value of the Settlement is significant. First,

            because the Settlement provides not only the full sales tax and title fees amount, but

            also an additional $4.60 in tag transfer and branch fees, the relief provided by

            Settlement exceeds the full relief sought in the respective Roth and Joffe Complaints

            and exceeds the amount awarded in the Final Judgments entered by the Court in Roth.

            See Saccoccio v. JP Morgan Chase Bank, N.A., 297 F.R.D. 683, 693 (S.D. Fla. 2014)

            (finding significant that settlement afforded more relief than likely would have been

            secured at trial). Second, the Notice plan as ordered by this Court is comprehensive

            and the claims’ submission process is straightforward and simple, both of which are

            relevant to the fairness of the Agreement. See Braynen v. Nationstar Mortg., LLC,

            2015 U.S. Dist. LEXIS 151744, at *56 (S.D. Fla. Nov. 9, 2015) (robust notice plan is

            evidence terms of settlement are fair and reasonable); Wilson v. EverBank, 2016 U.S.

            Dist. LEXIS 15751, at *32-33 (fairness of Settlement terms is evidenced by the fact

            that class members need not submit evidence or documentation beyond merely

            “checking a box” which “should take no more than a few minutes”). Third, the

            Settlement provides for prospective relief with a change in GEICO’s practices. Fourth,

            the Settlement provides an expanded class period.




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         26. The “claims-made” structure of the Settlement does not undermine this Court’s

            preliminary finding that the terms are fair, reasonable and adequate. See Hamilton v.

            SunTrust Mortg. Inc., 2014 U.S. Dist. LEXIS 154762, at *18 (S.D. Fla. Oct. 24, 2014)

            (whether settlement is a claims-made structure or a direct-pay structure does not impact

            “fairness, reasonableness, or adequacy of proposed settlement.”); Casey v. Citibank,

            N.A., 2014 U.S. Dist. LEXIS 156553, at *6 (N.D. N.Y. Aug. 21, 2014) (“The Court

            does not have the authority to impose a preferred payment structure upon the settling

            parties”). While a “claims-made” structure may result in less individual class members

            receiving payment, it also results in each individual class member who submits a claim

            receiving a greater payment. See Lee v. Ocwen Loan Servicing, LLC, 2015 U.S. Dist.

            LEXIS 121998, at *57 (S.D. Fla. Sep. 14, 2015). This Court sees no reason why it

            would be fairer to reduce the recovery of Class Members who take the minimal step of

            submitting a claim merely to benefit Class Members who, even with robust Notice and

            a simple claims process with prepaid postage and almost entirely pre-filled forms,

            decline to submit a claim. Id. (“[n]egotiating for a smaller amount to go to Class

            Members would, in effect, unfairly reward some Class Members for their own

            indifference at the expense of those who would take the minimal step of returning the

            simple Claim Form to receive the larger amount.”); Cook, 2020 U.S. Dist. LEXIS

            111956, at *23-24 (quoting and agreeing with Lee).

         27. This finding is buttressed by the fact that Defendants made clear they would have

            awaited a decision from the Eleventh Circuit concerning the Roth appeal (which is

            fully-briefed) and appealed any adverse Joffe rulings rather than settling the cases on a




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            direct-pay model. See Montoya v. PNC Bank, N.A., 2016 U.S. Dist. LEXIS 50315, at

            *49 (S.D. Fla. Apr. 13, 2016) (claims-made settlement offered the best and “only real

            relief” possible in settlement because defendants “would not have agreed” to direct-

            pay structure). In sum, upon preliminary review, the Court finds that, given the relief

            secured, Defendants’ agreement to change its business practices, the robust Notice

            plan, and the simple claims’ submission process, it will likely be able to approve the

            terms of the Proposed Settlement as fair, reasonable, and adequate. As such, the terms

            of the proposed Settlement warrants providing Notice to Class Members and the

            opportunity to request exclusion or object to the terms, and scheduling a Fairness

            Hearing to determine whether to grant final approval.

         28. The Parties also jointly moved to vacate this Court’s previous summary judgment

            Order in the Roth case (Roth Doc. 247) and the First and Second Judgments (Doc. 281

            and 287), Costs Order (Doc. 294 and 303), Fee Order (Doc. 333) and Interest Fee Order

            (Doc. 341 and 344) in Roth (collectively, the “Orders”). Vacatur requires this Court to

            “determine the propriety of granting vacatur by weighing the benefits of settlement to

            the parties and to the judicial system (and thus to the public as well) against the harm

            to the public in the form of lost precedent.” See Hartford Cas. Ins. Co. v. Crum &

            Forster Specialty Ins. Co., 828 F.3d 1331, 1336 (11th Cir. 2016). The Court entered an

            Order Granting Joint Motion to Vacate Certain Orders and Final Judgments on August

            27, 2020. See [DE 367]. In the event the Court does not grant final approval of the

            settlement, the Court may withdraw its vacatur order.




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         29. Potential Settlement Class Members who wish to exclude themselves from the

            Settlement Class must submit timely, written requests for exclusion, as set forth in the

            Agreement and Notice, postmarked no later than November 12, 2020, which is 45 days

            from the deadline for the First Mail Notice Date. See Greco v. Ginn Dev. Co., LLC, 635

            Fed. Appx. 628, 634 (11th Cir. 2015) (citing 2 McLaughlin on Class Actions § 6:18

            (11th ed.) (“Courts have consistently held that 30 to 60 days between the mailing (or

            other dissemination) of class notice and the last date to object or opt out, coupled with

            a few more weeks between the close of objections and the settlement hearing, affords

            class members an adequate opportunity to evaluate and, if desired, take action

            concerning a proposed settlement.”)). Requests for exclusion must be exercised

            individually by the Settlement Class Member or his or her Legally Authorized

            Representative, and not as or on behalf of a group, class, or subclass. See Whitehead

            v. Advance Stores Co., 2017 U.S. Dist. LEXIS 2673, at *9 (M.D. Fla. Jan. 9, 2017)

            (Dalton, J.) (directing that opt-outs must be individually signed and include pertinent

            identifying information).

         30. No later than the deadline indicated in the below chart, the Settlement Administrator

            shall file proof of mailing of the Notice, along with the Opt-Out List, which shall be a

            list of all Persons who timely and properly requested exclusion from the Settlement

            Class, and an affidavit or declaration attesting to the accuracy of the Opt-Out List.

         31. Potential Class Members who submit timely and valid requests for exclusion in the

            manner set forth in the Notice and Agreement shall be excluded from the Settlement

            Class. Such Persons shall have no rights under the Proposed Settlement, nor share in




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            any distribution of funds, and shall not be bound by the Proposed Settlement nor by

            any Final Order and Judgment approving the Proposed Settlement. See In re Managed

            Care Litig., 2008 U.S. Dist. LEXIS 44261, at *32 (S.D. Fla. Jun. 4, 2008) (class

            members who opt-out of class are not bound by any decisions or rulings concerning the

            class). All Settlement Class Members who do not submit a timely, written request for

            exclusion in the manner set forth in the Notice and Agreement will be bound by any

            Final Order and Judgment entered, even if such Settlement Class Members did not

            receive actual notice of this Action or this Proposed Settlement, or did not submit a

            claim pursuant to the Proposed Settlement. See Juris v. Inamed Corp., 685 F.3d 1294,

            1321 (11th Cir. 2012) (due process does not require actual notice, but rather good-faith

            effort to provide actual notice). If a Final Order and Judgment is entered approving the

            Proposed Settlement, all Settlement Class Members who do not make timely, written

            requests for exclusion shall be conclusively deemed to have fully and finally released

            all Released Persons from any and all Released Claims, as defined in the Agreement.

         32. Settlement Class Members who do not request exclusion from the Settlement Class

            may object to the Proposed Settlement. Any Settlement Class Member who wishes do

            so must file written notices of intent to object or intervene, as described in the

            Agreement and below. Any Settlement Class Member that timely files an objection in

            compliance with the Agreement and this Order may appear at the Fairness Hearing, in

            person or by counsel, and be heard to the extent allowed by the Court. The right to

            object to the Proposed Settlement must be exercised individually by an individual




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            Settlement Class Member or his or her attorney or Legally Authorized Representative,

            and not as a member of a group, class, or subclass.

         33. To be timely, any objection or motion to intervene must be postmarked and mailed to

            the Settlement Administrator, and filed with the Court, by November 12, 2020, and

            must also:

                a. Contain a heading which includes the name of the case and case number;

                b. Provide the name, address, telephone number, and signature of the Settlement

                   Class Member filing the objection;

                c. Indicate the specific reasons why the Settlement Class Member objects to the

                   Proposed Settlement;

                d. Contain the name, address, bar number, and telephone number of the objecting

                   Settlement Class Member’s counsel, if represented by an attorney. If the

                   Settlement Class Member is represented by an attorney, he or she must comply

                   with all applicable rules of the Court; and

                e. State whether the objecting Settlement Class Member intends to appear at the

                   Fairness Hearing, either in person or through counsel.

         34. Failure to comply with these requirements may prevent the objection from being

            considered by the Court. See, e.g., Sanchez-Knutson v. Ford Motor Co., 2017 U.S.

            Dist. LEXIS 96560, at *12-13 (S.D. Fla. Jun. 20, 2017) (objectors must comply with

            requirements imposed by courts, including requirement to list proposed settlements to

            which they or their counsel have previously objected).




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         35. In addition, if the Settlement Class Member indicates, as set forth above, that he or she

            intends to appear and speak at the Fairness Hearing, a notice of intent to object should

            also contain the following information:

                a. A detailed statement of the specific legal and factual basis for each objection;

                b. A list of any and all witnesses whom the Settlement Class Member may seek to

                    call at the Fairness Hearing, with the address of each witness and a summary of

                    his or her proposed testimony;

                c. A list of any legal authority the Settlement Class Member will present at the

                    Fairness Hearing; and

                d. Documentary proof of membership in the Settlement Class.

         36. A lack of substantial compliance with these requirements may result in the Court

            declining the Settlement Class Member or his/her or its attorney permission to speak

            or present evidence or testimony at the Fairness Hearing. Id.

         37. The Court directs the Settlement Administrator to rent a post office box to be used for

            receiving requests for exclusion, objections, notices of intention to appear, and any

            other settlement-related communications, and provides that only the Settlement

            Administrator, the Court, the Clerk of the Court, and their designated agents shall have

            access to the post office box, except as otherwise expressly provided in the Agreement

            or by further order of the Court. The Court also directs the Settlement Administrator to

            promptly furnish Class Counsel and GEICO’s Counsel with copies of any and all

            objections, written requests for exclusion, motions to intervene, notices of intention to




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            appear, or other communications that come into its possession, as set forth in the

            Agreement.

         38. The Parties are directed to exchange data and provide data to the Settlement

            Administrator consistent with the methods and timing set forth in the Agreement to

            facilitate the sending of Notice within the deadlines set forth in the Schedule below.

         39. The Court will hold a Fairness Hearing on February 5, 2021 at 11:00 A.M. in

            Courtroom 205B at the U.S. Courthouse, 299 E. Broward Boulevard, Fort Lauderdale,

            Florida, during which the Court will consider whether the Proposed Settlement should

            be approved as fair, reasonable, and adequate, and whether the Court should enter Final

            Order and Judgment approving the Proposed Settlement and dismissing this Action on

            the merits, with prejudice. The Court will also consider the amount of any Attorneys’

            Fees and Costs Award and whether to make and the amount of any Service Awards to

            the Named Plaintiff. Class Counsel is directed to file any application for attorneys’

            fees, costs, and incentive awards by September 28, 2020.               The Settlement

            Administrator is directed to post any such application to the Settlement Website.

         40. The Fairness Hearing may be postponed, adjourned, or rescheduled by order of the

            Court without further notice to Settlement Class Members other than on the settlement

            website and the Court’s publicly-available docket. The Court further reserves the right

            to enter a Final Judgment and Order dismissing the Action with prejudice as to GEICO

            and against the Named Plaintiffs and the Settlement Class Members at or after the Final

            Approval Hearing and without further notice to the Settlement Class Members.




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         41. Based upon the terms of the Agreement, and based upon today’s date of August 28,

             2020, on which this Preliminary Approval Order is being entered, the Court imposes

             the following schedule for implementation of the Notice plan and further proceedings

             to determine whether the Proposed Settlement should be fully and finally approved:


                              Event                                       Deadline

      Website Notice Posted by Settlement Administrator         September 28, 2020

      Deadline for Settlement Administrator to mail out first   September 28, 2020
      mail notice (“First Mail Notice Date”)

      Deadline for filing Class Counsel’s application for an    September 28, 2020
      award of attorneys’ fees and expenses and request for
      class representative award(s)

      Deadline for opting-out of Settlement and                 November 12, 2020
      submission of objections

      Deadline for filing Responses to Objections               November 23, 2020

      Deadline for Settlement Class Members to file claims      December 28, 2020


      Deadline for Settlement Administrator to file proof of    January 18, 2021
      completion of Notice, along with complete and
      accurate Opt-Out list

      Deadline for filing Motion for Final Approval of the      January 28, 2021
      Settlement

      Fairness Hearing                                          February 5, 2021 at 11:00 A.M.



         42. Upon a showing of good cause, the Court may extend any of the deadlines set forth in

             this Order without further notice to the Settlement Class.




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         43. The Court stays all proceedings in this Action until further Order of the Court, except

             that the Parties may conduct such limited proceedings as may be necessary to

             implement or effectuate the Agreement.

             DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

      this 28th day of August, 2020.




      Copies furnished to:
      Counsel of record




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